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F’|ail'l'tiffl

V.

Kenneth Boycl, et al.,

 

Defendants.

 

MOT|ON FOR ENLARGEMENT OF T|ME FOR
DEFENDANT KENNETH BOYD

 

 

Defendant Kenneth Boyd, by and through himselfl and pursuant to Fed.
R. Civ. P. 6(b), hereby moves for an extension of time1 up to and inciuding
August 18, 2005, in which to fite a response to the Complaint. The
enlargement of time is necessary to review the Comp|aintl investigate the
numerous allegations of the Complaint, obtain information from the
appropriate individuals and prepare a responsive pleading This request is not
made in an attempt to prolong justice or impede the swift resolution of this

matter.

For the reasons stated herein, pro se defendant Kenneth Boyd
respectfully requests that this Honorable Court allow him up to and including

 

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Case 2:04-cv-02711-.]P|\/|-d|<v Document 13 Filed 07/27/05 Page 2 of 3 Page|D 12

August 18, 2005, in which to fite a response to the instant Comp|aint.
Respec:tfu||y submitted,

 

Kenneth Boyd
Pro se Defendant

CERT|F|CATE OF SERV|CE

| hereby certify that a true and accurate copy of the foregoing has been

fo ded yfirst-class maill postage prepaid, on the 2095 day of
, 2005, fOZ

Trey A. Nlejors
TDOC # 247162
VVTSP, Site 2

P.O. Box 1150
Henning, TN 3804‘|

MM M

Kenneth Boyd y
Pro se Defendant

 

 

sATTEs DISTRICT OURT - WESTNER DISRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-027]1 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Trcy Alan Majors

Southeastern TN State chional Correction Facility
247162

Rt 4 BoX 600

Pikeville, TN 37367

Kenneth Boyd
WTSP

Sitc # 2

P.O. BOX l 150
Henning, TN 38041

Honorablc J on McCalla
US DISTRICT COURT

